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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

lN RE:
KYSHA T. BROWN

CASE NO.:
Debtor(s).

 

CHAPTER 13 PLAN

A. NOTICES.

Debtorl must check one box on each line to state Whether or not the Plan includes each of
the following items. If an item is checked as “Not Included,” if both boxes are checked, or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

 

A limit on the amount of a secured claim based on a valuation which lncluded Not lncluded
may result in a partial payment or no payment at all to the secured g
creditor. See Sections C.S(d) and (e). A separate motion Will be tiled. X

 

Avoidance of a judicial lien or nonpossessory, nonpurchase money lncluded Not lncluded
security interest under ll U.S.C. § 522(f). A separate motion Will be ':‘

 

tiled. See Section C.S(e}. X
Nonstandard provisions set out in Section E. lncluded Not lncluded
l:l
X

 

 

 

 

 

B. MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s fee of lO% and
shall begin 30 days from petition filing/conversion date. Debtor shall make payments to
the Trustee for the period of @_ months lf the Trustee does not retain the full 10%, any
portion not retained Will be disbursed to allowed claims receiving payments under the Plan
and may cause an increased distribution to the unsecured class of creditors

5 990.00 from month l through 60.
§B from month through
$ from month through

 

l All references to “Debtor” include and refer to both ofthc debtors in a case filed jointly by two individuals

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C. PROPOSED DISTRIBUTIONS.

1. ADMINISTRATIVE ATTORNEY’S FEES.

Base Fee S 2600 Total Paid Prepetition $ Balance Due 5 2600
MMM Fee $ Total Paid Prepetition $ Balance Due S

Estimated Monitoring Fee at $50.00 per Month.
Attorney’s Fees Payable Through Plan at 350.00 Monthly (subject to adjustment).

2. DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 

Acct. No. Creditor Total Claim Amount

 

 

 

 

 

 

 

3. PRIORITY CLAIMS (as defined in 11 U.S.C. 8 50'7).

 

Last Four Digits of Acct. No. Creditor Total Claim Amount

 

 

 

 

 

 

 

4. TRUSTEE FEES. From each payment received from Debtor, the Trustee shall
receive a fee, the percentage of Which is fixed periodically by the United States Trustee.

5. SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages shall be deemed adequate
protection payments The Trustee shall disburse adequate protection payments to secured
creditors prior to confirmation, as soon as practicable, if the Plan provides for payment to the
secured creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has filed a
proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending
lf Debtor’s payments under the Plan are timely paid, payments to secured creditors under the Plan
shall be deemed contractually paid on time.

(a) Claims Secured by l)ebtor’s Principal Residence Which I)ebtor Intends to

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Retain ~ Mortgage, HOA and Condo Association Payments, and Arrears, if any, Paid
Through the Plan. If the Plan provides for curing prepetition arrearages on a mortgage on
Debtor’s principal residence, Debtor will pay, in addition to all other sums due under the
proposed Plan, all regular monthly postpetition mortgage payments to the Trustee as part
of the Plan. These mortgage payments Which may be adjusted up or down as provided for
under the loan documents are due beginning the first due date after the case is filed and
continuing each month thereafter The Trustee shall pay the postpetition mortgage
payments for Debtor’s principal residence on the following mortgage claims:

 

 

Last Four Creditor Collateral Regular Gap Arrears

Digits of Address Monthly Payment

Acct. No. Payment

1270 Noah 210 C€dal' AV€ $611.00 $230
Lending

 

 

 

 

 

 

 

 

 

(b) Claims Secured by Other Real Property Which Debtor Intends to Retain -
Mortgage Payments, HOA and Condo Association Payments, and Arrears, if any, Paid
Through the Plan. lf the Plan provides to cure prepetition arrearages on a mortgage, Debtor
will pay, in addition to all other sums due under the proposed Plan, all regular monthly
postpetition mortgage payments to the Trustee as part of the Plan. These mortgage
payments Which may be adjusted up or down as provided for under the loan documents
are due beginning the first due date after the case is filed and continuing each month
thereafter The Trustee shall pay the postpetition mortgage payments on the following
mortgage claims

 

Last Four Creditor Collateral Regular Gap Arrears
Digits of Address Monthly Payment
Acct. No. Payment

 

 

 

 

 

 

 

 

 

 

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(c) Claims Secured by Real Property - Debtor Intends to Seek Mortgage
Modification. lf Debtor obtains a modification of the mortgage, the modified payments
shall be paid through the Plan. Pending the resolution of a mortgage modification request,
Debtor shall make the following adequate protection payments to the Trustee: (l) for
homestead property, the lesser of 31% of gross monthly income of Debtor and non-filing
spouse, if any (after deducting homeowners association fees), or the normal monthly
contractual mortgage payment; or (2) for man-ihc)r.mesreadl income-producing property, 75%
of the gross rental income generated from the property.

 

Last Four Digits Creditor Collateral Address Adequate
of Acct. No. Protection Payment

 

 

 

 

 

 

 

 

{d) Claims Secured by Real Property or Personal Property to Which Section 506
Valuation APPLIES (Strip I)own). Under ll U.S.C. § 1322 (b)(Z), this provision does
not apply to a claim secured solely by Debtor’s principal residence A separate motion to
determine secured status or to value the collateral must be filed. The secured portion
of the claim, estimated below, shall be paid. Unless otherwise stated in Section E, the
payment through the Plan does not include payments for escrowed property taxes or
insurance

 

Last Four Creditor Collateral Claim Value Payment Interest
Digits of Descriptionir Amount Through Rate
Acct. No. Address Plan

 

 

 

 

 

 

 

 

 

 

 

(e) Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C.
§506. Debtor must file a separate motion under § 522 to avoid a judicial lien or a
nonpossessory, nonpurchase money security interest because it impairs an exemption or
under § 506 to determine secured status and to strip a lien.

 

Last F our Digits of Acct. Creditor Collateral Description /

Address

 

 

 

 

 

 

 

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Claims Secured by Real Property and/or Personal Property to Which Section

506 Valuation DOES NO'I` APPLY Under the Final Paragraph in 11 U.S.C. § 1325(a).
The claims listed below were either: (l) incurred within 910 days before the petition date
and secured by a purchase money security interest in a motor vehicle acquired for the
personal use of Debtor; or (2) incurred within one year of the petition date and secured by
a purchase money security interest in any other thing of value. These claims will be paid
in full under the Plan with interest at the rate stated below.

 

 

 

 

 

 

 

 

 

 

 

Last Four Creditor Collateral Claim Payment Interest
Digits of Description/ Amount Through Rate
Acct. No. Address Plan

(g) Claims Secured by Real or Personal Property to be Paid With Interest Through

the Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be paid in full
under the Plan with interest at the rate stated below.

 

 

 

 

 

 

 

 

 

 

 

 

Last Four Creditor Collateral Claim Payment Interest

Digits of Description/ Amount Through Rate

Acct. No. Address Plan
(h) Claims Secured by Personal Property - Maintaining Regular Payments and
Curing Arrearage, if any, with All Payments in Plan.

Last Four Creditor Collateral Regular Arrearage

Digits of Acct. Description Contractual

No. Payment

 

 

 

 

 

 

 

 

 

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(i} Secured Claims Paid Direetly by Debtor. The following secured claims are being
made via automatic debit/draft from Debtor’s depository account and are to continue to be
paid directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft
The automatic stay is terminated in rem as to Debtor and in rem and in personam as to any
codebtor as to these creditors and lessors upon the filing of this Plan. Nothing herein is
intended to terminate or abrogate Debtor’s state law contract rights

 

 

 

 

 

 

 

 

 

Last Four I)igits of Acct. Creditor Property/Collateral

No.
(j) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the
following collateral/property The automatic stay under ll U.S.C. §§ 362(a) and l301(a)
is terminated in rem as to Debtor and fn rem and in personam as to any codebtor as to these
creditors upon the filing of this Plan.

Last Four Digits of Acct. Creditor Collateral/Property

No. Description/Address

 

 

 

 

 

 

 

(k) Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend to
make payments to the following secured creditors The automatic stay is terminated in rem
as to Debtor and in rem and in personam as to any codebtor with respect to these creditors
upon the filing of this Plan. Debtor’s state law contract rights and defenses are neither
terminated nor abrogated

 

Last Four Digits of Acct.

No.

Collateral
Description/Address

Creditor

 

 

 

 

 

 

 

6. LEASES l EXECUTORY CONTRACTS. As and for adequate protection, the

Trustee shall disburse payments to creditors under leases or executory contracts prior to
confirmation, as soon as practicable if the Plan provides for payment to creditor/lessorJ the
creditor/lessor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the
secured creditor/lessor under § 501(c), and no objection to the claim is pending lf Debtor’s
payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be
deemed contractually paid on time

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(a) Assurnption of Leases/Executory Contracts for Real or Personal Property to
be Paid and Arrearages Cured Through the Plan. Debtor assumes the following
leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
follows

 

 

Last Four Creditor/Lessor Description of Regular Arrearage and
Digits of Acct. Leased Contractual Proposed Cure
No. Property Payment

 

 

 

 

 

 

 

 

 

(b) Assumption of Leasestxecutory Contracts for Real or Personal Property to
be Paid Directly by Debtor. Debtor assumes the following lease/executory contract
claims that are paid via automatic debit/draft from Debtor’s depository account and are to
continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem and
m personam as to any codebtor as to these creditors and lessors upon the filing of this Plan.
Nothing herein is intended to terminate or abrogate Debtor’s state law contract rights

 

Last Four Digits of Acct. Creditor/Lessor Property/Collateral

No.

 

 

 

 

 

 

(c) Rejection of Leasestxecutory Contracts and Surrender of Real or Personal
Leased Property. Debtor rejects the following leases/executory contracts and will
surrender the following leased real or personal property. The automatic stay is terminated
in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors and
lessors upon the filing of this Plan.

 

Last Four Digits of Acct. Creditor/Lessor Property/Collateral to be

No.

Surrendered

 

 

 

 

 

 

 

7. GENERAL UNSECURED CREDITORS. General unsecured creditors with

allowed claims shall receive a pro rata share of the balance of any funds remaining after payments
to the above referenced creditors or shall otherwise be paid under a subsequent Order Contirming

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Plan. The estimated dividend to unsecured creditors shall be no less than 3

D. GENERAL PLAN PROVISIONS:

l. Secured creditors whether or not dealt with under the Plan, shall retain the liens
securing such claims

2. Payments made to any creditor shall be based upon the amount set forth in the
creditor’s proof of claim or other amount as allowed by an Order of the Bankruptcy
Court.

bJ

lf Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
property of the estate shall not vest in Debtor until the earlier of Debtor’s discharge
or dismissal of this case, unless the Court orders otherwise Property of the estate

(a) X shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Court orders otherwise or

(b) shall vest in Debtor upon confirmation of the Plan.

4. The amounts listed for claims in this Plan are based upon Debtor’s best estimate
and belief and/or the proofs of claim as filed and allowed Unless otherwise ordered
by the Court, the Trustee shall only pay creditors with filed and allowed proofs of
claim. An allowed proof of claim will control, unless the Court orders otherwise

5. Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
distributions The actual distributions may vary. lf the summary or spreadsheet
conflicts with this Plan, the provisions of the Plan control prior to confirmation,
after which time the Order Confirming Plan shall control.

6. Debtor shall timely file all tax returns and make all tax payments and deposits when
due (However, if Debtor is not required to file tax returns Debtor shall provide the
Trustee with a statement to that effect.) For each tax return that becomes due after
the case is filed, Debtor shall provide a complete copy of the tax return, including
business returns if Debtor owns a business together with all related W-2s and Form
1099s to the Trustee within 14 days of filing the return. Unless otherwise ordered,
consented to by the Trustee, or ordered by the Court, Debtor shall turn over to the
Trustee all tax refunds in addition to regular Plan payments Debtor shall not
instruct the lnternal Revenue Service or other taxingagency to apply a refund to the
following year’s tax liabilityl Debtor shall not spend any tax refund without first
having obtained the Trustee’s consent or Court approval.

 

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E. NONSTANDARD PROVISIONS as Def"ined in Federal Rule of Bankruptcv
Procedure 3015gc[. Note: Any nonstandard provisions of this Plan other than those set
out in this section are deemed void and are strickenl

 

 

 

CERTIFICATION

By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of' the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted Wording or nonstandard provisions other than any
nonstandard provisions included in Seetion E.

 

 

SIGNATUREt S 1:
Debtorts)
%) W é/C/(W Date ZO/liv_ {Z
Date
Attorney for Debtor§ s)
/S/Marie F. Benjamin Date 12/7/20]7

 

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